Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 1 of 16
              USCA11 Case: 21-11061 Date Filed: 01/07/2022 Page: 1 of 1

                                                                                                           AP
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                                                                                          Jan 7, 2022
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303
                                                                                                                  MIAMI

   David J. Smith                                                                     For rules and forms visit
   Clerk of Court                                                                     www.ca11.uscourts.gov


                                           January 07, 2022

   Clerk - Southern District of Florida
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 21-11061-GG
   Case Style: USA v. Bernard Dixon
   District Court Docket No: 1:16-cr-20784-MGC-2

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 2 of 16
              USCA11 Case: 21-11061 Date Filed: 01/07/2022 Page: 1 of 2




                                             In the
                        United States Court of Appeals
                                  For the Eleventh Circuit
                                    ____________________

                                          No. 21-11061
                                    ____________________

              UNITED STATES OF AMERICA,
                                                               Plaintiff-Appellee,
              versus
              BERNARD DAVID DIXON,


                                                            Defendant-Appellant.


                                    ____________________

                           Appeal from the United States District Court
                               for the Southern District of Florida
                             D.C. Docket No. 1:16-cr-20784-MGC-2
                                    ____________________

                                          JUDGMENT




   ISSUED AS MANDATE 01/07/2022
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 3 of 16
              USCA11 Case: 21-11061 Date Filed: 01/07/2022 Page: 2 of 2




              It is hereby ordered, adjudged, and decreed that the opinion is-
              sued on this date in this appeal is entered as the judgment of this
              Court.
                                    Entered: December 9, 2021
                           For the Court: DAVID J. SMITH, Clerk of Court




   ISSUED AS MANDATE 01/07/2022
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 4 of 16
             USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 1 of 11




                                                       [DO NOT PUBLISH]
                                        In the
                     United States Court of Appeals
                             For the Eleventh Circuit

                               ____________________

                                     No. 21-11061
                               Non-Argument Calendar
                               ____________________

            UNITED STATES OF AMERICA,
                                                          Plaintiff-Appellee,
            versus
            BERNARD DAVID DIXON,


                                                       Defendant-Appellant.


                               ____________________

                      Appeal from the United States District Court
                          for the Southern District of Florida
                        D.C. Docket No. 1:16-cr-20784-MGC-2
                               ____________________
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 5 of 16
             USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 2 of 11




            2                      Opinion of the Court                 21-11061


            Before LUCK, LAGOA, and JULIE CARNES, Circuit Judges.
            PER CURIAM:
                  Defendant Bernard Dixon, an inmate at FCI Coleman Me-
            dium who is serving a 146-month sentence arising from his bank
            robbery conviction in 2017, appeals the district court’s denial of his
            motion for compassionate release under 18 U.S.C. § 3582(c)(1)(A).
            We find no error in the district court’s order denying Defendant’s
            motion, and thus affirm.
                                     BACKGROUND
                   Defendant was indicted in October 2016 in a two-count in-
            dictment charging him with conspiracy to commit bank robbery in
            violation of 18 U.S.C. § 371 and bank robbery in violation of 18
            U.S.C. § 2113(a). He pled guilty to both counts.
                   Based on the factual proffer supporting Defendant’s guilty
            plea, Defendant and his girlfriend Joy Braxton robbed a Miami
            Shores TD Bank on September 26, 2016. On that day, Braxton en-
            tered the bank, approached a teller with a white plastic bag, and
            demanded that the teller put money in the bag, stating, “I am rob-
            bing the bank.” The teller put a GPS dye-pack of money in the bag,
            after which Braxton left the bank with the bag of money and
            headed to an adjacent parking lot. The bank manager, who had
            been alerted to the robbery through an internal messaging system,
            followed Braxton out of the bank and saw her get onto the back of
            a motorcycle driven by Defendant.
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 6 of 16
             USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 3 of 11




            21-11061               Opinion of the Court                       3

                   Within minutes, a Miami Shores police officer saw the mo-
            torcycle being ridden by Braxton and Defendant. The officer fol-
            lowed the motorcycle for several blocks before it wrecked in front
            of him when it struck the back of a police car. Braxton was imme-
            diately detained, and the stolen bank money and GPS pack, still in
            her purse, were recovered. Defendant fled from the crash, but he
            eventually was apprehended. The TD Bank manager, who was
            brought to the scene, instantly identified Braxton as the woman
            who had robbed the bank, and he identified the motorcycle Brax-
            ton and Defendant had been driving as the vehicle he saw driving
            away from the bank after the robbery.
                   The PSR determined that Defendant should be sentenced as
            a career offender under USSG § 4B1.1(a) because bank robbery is a
            crime of violence, and Defendant had prior convictions for both a
            crime of violence (aggravated assault with a deadly weapon) and a
            controlled substance offense (possession with intent to sell co-
            caine). With the career offender enhancement, Defendant was as-
            signed a total offense level of 29. The PSR described a long history
            of prior offenses committed by Defendant beginning in 1989, in-
            cluding several controlled substance offenses, theft, robbery by
            force, burglary, grand theft, armed robbery with a deadly weapon,
            battery, aggravated assault with a deadly weapon, and habitual
            driving with a suspended license. Based on his status as a career
            offender, Defendant was assigned a criminal history category of VI,
            which in conjunction with his offense level of 29 yielded a recom-
            mended advisory guidelines range of 151 to 188 months.
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 7 of 16
             USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 4 of 11




            4                      Opinion of the Court                 21-11061

                   Defendant originally objected to his classification as a career
            offender, but he withdrew the objection during the sentencing
            hearing and acknowledged that his recommended guidelines range
            was 151 to 188 months. Defendant asked for a downward depar-
            ture, arguing that he had not been convicted of a serious offense
            since 2008 and that his participation in the bank robbery was not
            violent, as he was merely the getaway driver. The district court
            determined that Defendant’s advisory guidelines range somewhat
            overrepresented his criminal culpability and thus applied a slight
            downward variance, sentencing Defendant to 146 months for the
            bank robbery conviction, to be served concurrently with a 60-
            month sentence for the conspiracy conviction. This Court af-
            firmed Defendant’s convictions and sentence on appeal.
                   In 2018, Defendant filed a motion to vacate his sentence pur-
            suant to 28 U.S.C. § 2255, arguing that he was mentally ill, that de-
            fense counsel had promised him a shorter sentence if he pled guilty,
            and that counsel was ineffective for not challenging Defendant’s
            career offender status. The district court denied Defendant’s § 2255
            motion and declined to issue a certificate of appealability (“COA”).
            Defendant did not file a motion in this Court for a COA.
                   In November 2020, Defendant filed a pro se motion for com-
            passionate release from prison pursuant to 18 U.S.C.
            § 3582(c)(1)(A), which authorizes a district court to reduce a de-
            fendant’s sentence if the reduction is warranted by “extraordinary
            and compelling reasons” and if it is consistent with the sentencing
            factors set forth in 18 U.S.C. § 3553(a) and the applicable Guidelines
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 8 of 16
             USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 5 of 11




            21-11061                   Opinion of the Court                                 5

            policy statements. See 18 U.S.C. § 3582(c)(1)(A)(i). 1 In support of
            his motion, Defendant stated that he was a “chronic care inmate”
            with various ailments, including schizoaffective disorder, chronic
            depression, mood swings, an acute upper respiratory infection
            (bronchitis), an HIV-positive diagnosis, high blood pressure,
            chronic breathing problems, and respiratory insufficiencies. As
            such, Defendant argued that he was particularly vulnerable to
            COVID-19 while in prison and should therefore be released. De-
            fendant attached to his motion medical records spanning from
            April 2015 to March 2020.
                    In response to Defendant’s Motion, the Government de-
            scribed the significant measures taken by the BOP to protect the
            health of inmates during the COVID-19 pandemic, including social
            distancing, the provision of masks to inmates and staff, cancelling
            staff travel and training, screening of newly admitted inmates,
            quarantining symptomatic inmates and asymptomatic inmates
            with exposure risk, and restricting contractor access and social and
            legal visits to BOP facilities. Given those measures, and based on
            Defendant’s medical records and criminal history, the Government
            argued that: (1) Defendant failed to demonstrate extraordinary and




            1
               A sentence reduction is also permitted by § 3582(c) under certain circum-
            stances if the defendant is at least 70 years old and has served at least 30 years
            in prison, but those conditions are not met in this case. See 18 U.S.C.
            § 3582(c)(1)(A)(ii).
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 9 of 16
             USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 6 of 11




            6                       Opinion of the Court                   21-11061

            compelling reasons warranting a sentence reduction, and (2) the
            § 3553(a) factors did not favor Defendant’s release.
                   The district court denied Defendant’s § 3582(c) motion. The
            court noted that Defendant’s medical records confirmed that he
            was HIV positive, but that the records also showed that Defend-
            ant’s HIV was well-controlled with medication. According to the
            court, the records also showed that Defendant did not have sus-
            tained hypertension, acute respiratory issues, or any other relevant
            health concerns. Citing Defendant’s extensive criminal history, the
            court determined in the alternative that the § 3553(a) factors did
            not support Defendant’s release.
                    Defendant appeals, arguing that the district court erred by
            determining that his health conditions did not constitute an ex-
            traordinary and compelling reason justifying his release. According
            to Defendant, the district court did not thoroughly examine his
            medical records in making that determination. Defendant only
            briefly addresses in his appellate brief the district court’s alternative
            ground for denying his motion for compassionate release based on
            its consideration of the relevant § 3553(a) factors, citing his “reha-
            bilitative efforts” in prison that support his release under those fac-
            tors. As discussed below, we find no error in the district court’s
            order denying Defendant’s motion for compassionate release, and
            thus affirm.
                                        DISCUSSION
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 10 of 16
              USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 7 of 11




            21-11061                Opinion of the Court                          7

                    We review de novo whether a defendant is eligible for a sen-
            tence reduction under § 3582(c). United States v. Giron, 15 F.4th
            1343, 1345 (11th Cir. 2021). Once eligibility is established, we re-
            view the denial of a defendant’s § 3582(c) motion under the abuse
            of discretion standard. See id. “A district court abuses its discretion
            if it applies an incorrect legal standard, follows improper proce-
            dures in making the determination, or makes findings of fact that
            are clearly erroneous.” United States v. Harris, 989 F.3d 908, 911
            (11th Cir. 2021) (quoting Cordoba v. DIRECTV, LLC, 942 F.3d
            1259, 1267 (11th Cir. 2019) (quotation marks omitted)). The abuse
            of discretion standard allows the district court a “range of choice”
            that we will not reverse “just because we might have come to a
            different conclusion had it been our call to make.” See id. at 912
            (quotation marks omitted).
                    As amended by the First Step Act, § 3582(c) authorizes the
            district court to reduce a defendant’s sentence if the court finds
            that: (1) “extraordinary and compelling reasons warrant such a re-
            duction” and (2) the reduction is consistent with the sentencing fac-
            tors of § 3553(a) and the “applicable policy statements issued by the
            Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i). The appli-
            cable policy statement, found in USSG § 1B1.13, echoes the statu-
            tory requirements, stating that a district court may reduce a de-
            fendant’s sentence “if, after considering the factors set forth in . . .
            § 3553(a),” the court determines that: (1) “[e]xtraordinary and com-
            pelling reasons warrant the reduction” and (2) “[t]the [d]efendant
            is not a danger to the safety of any other person or to the
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 11 of 16
              USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 8 of 11




            8                      Opinion of the Court                 21-11061

            community, as provided in 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13.
            See also United States v. Tinker, 14 F.4th 1234, 1237 (11th Cir. 2021)
            (listing three necessary conditions for a sentence reduction under
            § 3582(c): support in the § 3553(a) factors, extraordinary and com-
            pelling reasons, and adherence to U.S.S.G. § 1B1.13’s policy state-
            ment).
                   The district court denied Defendant’s § 3582(c) motion for
            two reasons. First, the court found that Defendant had failed to
            show extraordinary and compelling reasons for his release. In that
            regard, the court noted that Defendant’s medical records showed
            that his HIV is well-controlled by medication and that the records
            did not reveal any other health concerns that would warrant De-
            fendant’s release from prison. Alternatively, the court determined
            that the § 3553(a) sentencing factors militated against Defendant’s
            release because of the serious nature of the bank robbery underly-
            ing Defendant’s conviction in this case and his extensive criminal
            history prior to the bank robbery, which dated back to 1989 and
            included convictions for robbery by force, burglary, grand theft,
            armed robbery with a deadly weapon, and battery, among other
            offenses. Either ground is adequate to support the district court’s
            decision to deny Defendant’s § 3582(c) motion.
                   As to the first ground, Defendant argues that he has medical
            conditions that provide an “extraordinary and compelling reason”
            for his release, including “schizoaffective [disorder], chronic de-
            pression [and] mood swings, an acute upper respiratory infection
            commonly known as Bronchitis and . . . [his] HIV positive” status.
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 12 of 16
              USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 9 of 11




            21-11061               Opinion of the Court                        9

            Defendant argues further that he has “high blood pressure, suffers
            chronic breathing problems, and [has] numerous complication[s]
            stemm[ing] from being HIV positive.” According to Defendant,
            these conditions make him more susceptible to COVID-19.
                    We agree with the district court that Defendant did not pro-
            vide adequate support for his claim that he has medical conditions
            that satisfy the extraordinary and compelling reason standard and
            thus justify his release from prison. The relevant Guidelines policy
            statement provides that a defendant’s medical condition is an ex-
            traordinary and compelling reason for a sentence reduction if the
            defendant: (1) has a terminal disease, or (2) suffers from a serious
            physical or mental condition that “substantially diminishes” his
            ability “to provide self-care” in prison and from which he is not ex-
            pected to recover. U.S.S.G. § 1B1.13 cmt. n.1(A). Defendant has
            made no showing of either.
                   Defendant’s medical records show that he is HIV-positive,
            but that his HIV is well-controlled with anti-retroviral medication,
            that he has a high T-cell count, and that he has never suffered from
            an HIV-related illness or any other complication from HIV. It is
            not clear from the records that Defendant suffers from any of the
            other ailments he claims in support of his motion, such as signifi-
            cant mental health issues, breathing problems, or high blood pres-
            sure. Indeed, Defendant’s prison medical records for the year prior
            to when he filed his § 3582(c) motion are relatively unremarkable.
            Those records confirm that Defendant’s HIV is well-controlled by
            medication, and that Defendant does not suffer from any other
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 13 of 16
             USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 10 of 11




            10                      Opinion of the Court                 21-11061

            significant physical or mental health issues that would be consid-
            ered terminal or that diminish Defendant’s ability to provide self-
            care in prison.
                   In addition, Defendant fails to explain how any of his
            claimed conditions increase his risk of severe disease from COVID-
            19 or otherwise constitute an extraordinary and compelling reason
            for his release from prison. Given that failure, we see no error in
            the district court’s conclusion that the COVID-19 pandemic does
            not require Defendant’s release pursuant to § 3582(c). See Giron,
            15 F.4th at 1346 (affirming the district court’s holding that the de-
            fendant’s high cholesterol, high blood pressure, and coronary ar-
            tery disease were not extraordinary and compelling reasons for
            early release where all of those conditions were “manageable in
            prison, despite the existence of the COVID-19 pandemic”); Harris,
            989 F.3d at 912 (upholding the district court’s denial of compassion-
            ate release to an inmate with hypertension, despite the possible in-
            creased risk from COVID-19).
                   Defendant’s failure to demonstrate an extraordinary and
            compelling reason is alone enough to “foreclose a sentence reduc-
            tion” under § 3582(c). See Giron, 15 F.4th at 1347 (“When denying
            a request for compassionate release, a district court need not ana-
            lyze the § 3553(a) factors if it finds either that no extraordinary and
            compelling reason exists or that the defendant is a danger to the
            public.”). But the district court also held, in the alternative, that
            Defendant’s release was not consistent with the § 3553(a) factors
            because of Defendant’s extensive criminal history. Defendant only
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 14 of 16
             USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 11 of 11




            21-11061               Opinion of the Court                       11

            summarily challenges this alternative holding, which clearly was
            within the district court’s discretion based on Defendant’s criminal
            history as described in the PSR. See United States v. Riley, 995 F.3d
            1272, 1279 (11th Cir. 2021) (noting that “discretion in weighing sen-
            tencing factors is particularly pronounced when it comes to weigh-
            ing criminal history”).
                    In short, Defendant failed to show an extraordinary and
            compelling reason to support his release under § 3582(c), and the
            district court acted within its discretion when it determined, in the
            alternative, that the § 3553(a) sentencing factors did not support
            Defendant’s release from prison. For both reasons, the district
            court’s order denying Defendant’s § 3582(c) motion is AFFIRMED.
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 15 of 16
              USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 1 of 2


                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

   David J. Smith                                                                       For rules and forms visit
   Clerk of Court                                                                       www.ca11.uscourts.gov


                                           December 09, 2021

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 21-11061-GG
    Case Style: USA v. Bernard Dixon
    District Court Docket No: 1:16-cr-20784-MGC-2

    This Court requires all counsel to file documents electronically using the Electronic Case
    Files ("ECF") system, unless exempted for good cause. Non-incarcerated pro se parties
    are permitted to use the ECF system by registering for an account at www.pacer.gov.
    Information and training materials related to electronic filing, are available at
    www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today in this appeal.
    Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a
    later date in accordance with FRAP 41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
    filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
    provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
    timely only if received in the clerk's office within the time specified in the rules. Costs are
    governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
    attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested
    Persons a complete list of all persons and entities listed on all certificates previously filed by
    any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
    reheard must be included in any petition for rehearing or petition for rehearing en banc. See
    11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
    compensation for time spent on the appeal no later than 60 days after either issuance of mandate
    or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
    the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
    cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
    system.

    For questions concerning the issuance of the decision of this court, please call the number
    referenced in the signature block below. For all other questions, please call Joseph Caruso, GG
Case 1:16-cr-20784-MGC Document 121 Entered on FLSD Docket 01/07/2022 Page 16 of 16
              USCA11 Case: 21-11061 Date Filed: 12/09/2021 Page: 2 of 2



    at (404) 335-6177.

    Sincerely,

    DAVID J. SMITH, Clerk of Court

    Reply to: Jeff R. Patch
    Phone #: 404-335-6151

                                                   OPIN-1 Ntc of Issuance of Opinion
